                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


                Jonathan Corbett,                            Case No.: 22-CV-5867
                                         Plaintiff

                         v.                                  COMPLAINT FOR VIOLATIONS
                                                             OF THE 1st, 2nd, and 14th
                  Kathleen Hochul,                           AMENDMENTS OF THE U.S.
     in her official capacity as chief executive             CONSTITUTION
              of the State of New York
                                         Defendant



                                            SUMMARY

1.       The people of New York have been waiting over 100 years to exercise their right to bear
         arms as a result of the Sullivan Act of 1911, which required individuals carrying a
         firearm to obtain a license and simultaneously made that license impossible for the
         average law-abiding citizen to get by requiring applicants to demonstrate a reason they
         needed a weapon greater than the average citizen.
2.       On June 23rd, 2022, the U.S. Supreme Court declared this practice unconstitutional in
         New York State Rifle & Pistol Association, Inc. v. Bruen, 597 U.S. ___ (2022), explicitly
         holding that the Constitution provides an individual right to carry firearms outside of the
         home and that the state may not ban the ordinary, law-abiding citizen from doing so.
3.       In response, Defendant, New York Governor Kathleen Hochul (the “Governor”) publicly
         deemed the Bruen holding as “outrageous,” “reckless,” “reprehensible,” “horrific,” and
         “appalling,” and convened an extraordinary session of the state legislature wherein she
         demanded the legislature pass a new law to restrict gun rights for as many New Yorkers
         as possible.
4.       This new law, inter alia, requires applicants for a gun license to disclose all social media
         accounts they have used within the previous 3 years, thus forcing applicants to choose
         between their First Amendment rights to speak and associate anonymously (and their
         Fourteenth Amendment right to privacy) and their Second Amendment right to keep and
         bear arms.


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5.    Plaintiff Jonathan Corbett (“Corbett”), a resident of the City of New York, has applied for
      a license1 to carry a handgun within the city and state; this application is pending and a
      decision on his license application is subject to the new restrictions..
6.    The Court is asked to declare three specific requirements, including the social media
      requirement, of the new New York law to be unconstitutional and to order Defendant
      Hochul to cease any and all enforcement of the same.




                                           PARTIES

7.    Plaintiff Jonathan Corbett is a U.S. citizen with residence in Kings County, New York.
8.    Defendant Kathleen Hochul is the Governor of the State of New York and the chief
      executive of the laws of the state, sued here in her official capacity.



                                 JURISDICTION & VENUE

9.    This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 & 1343
      because Corbett’s claims are presented exclusively under the United States Constitution.
10.   The Court is authorized to provide the relief requested under the All Writs Act, 28 U.S.C.
      § 1651.
11.   This district is the appropriate venue for this action pursuant to 28 U.S.C. § 1391(b)(1)
      and (2) because Corbett’s license application is processed within the confines of this
      district and because Defendant Hochul maintains offices within this district.



                                 ALLEGATIONS OF FACT

12.   On April 14th, 2022, Corbett submitted an online application to the NYPD Licensing
      Division a permit to own, and carry on his person outside his home, a concealed weapon.
13.   Such a license is known in NYPD parlance as a “business carry” permit, despite the fact
      that it may be issued to individuals unrelated to a business need.

1  New York statutory, administrative, and decisional law vacillates between referring to a
“license” and a “permit.” The terms are equivalent in this state.
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14.       There exists no other permit type by which a civilian New York City resident may carry a
          handgun in public, whether openly or concealed (i.e., there is no “personal carry” license,
          nor any variety of “open carry” license, available to ordinary civilians).
15.       Corbett initially provided to the Licensing Division the following:
            a. (1) fourteen-page application (excluding letter of necessity),
            b. (1) letter of necessity2,
            c. $340.00.
16.       An officer of the licensing division promptly contacted Corbett and asked that he
          schedule an appointment to appear in person to provide the Licensing Division the
          following:
            d. (1) New York identification card,
            e. (1) set of fingerprints
            f. $88.25.
17.       Corbett promptly did so.
18.       The licensing officer candidly advised Corbett that it would be about 9 months until an
          officer is even assigned to review his application.
19.       Upon information and belief, once the officer is assigned, Corbett will be asked to return
          in person to Licensing Division for an interview and to provide:
            g.   (1) notarized affidavit certifying that Corbett does not have a roommate, or consent
                 from a roommate,
            h. (1) notarized affidavit from someone willing to take possession of Corbett’s
                 weapons upon his death or disability,
            i. (2) “passport-style” photos,
            j. (1) U.S. passport,
            k. (1) social security card,
            l. (1) copy of Corbett’s business tax return,
            m. (1) letter from a doctor describing any mental illness Corbett has ever suffered,
            n. Several months of bank withdrawal slips,
            o. (1) copy of Corbett’s out-of-state gun license,



2   As a result of Bruen, this letter is likely no longer necessary.
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       p. (1) statement describing any handguns Corbett owns out-of-state and how they are
           stored,
       q. (1) affirmation of familiarity with New York’s laws regulating use of deadly force,
       r. (1) affirmation that Corbett has never had any “orders of protection” issued against
           him,
       s. Any original court records for any interaction with criminal courts whatsoever,
           including driving infractions (e.g., “failure to wear a seatbelt” would be sufficient to
           require additional records),
       t. Pictures of Corbett’s business, inside and out, and
       u. Numerous additional tax records and other records related to the businesses Corbett
           owns.
20.   Upon information and belief, at least two more trips to Licensing Division would be
      required after that: one to retrieve the license and one to register a firearm to the license.
21.   Upon information and belief, the time required to complete the above process is
      approximately 12-18 hours.
22.   Prior to June 23rd, 2022, New Yorkers were also required to demonstrate “proper cause”
      for the issuance of a carry gun license.
23.   That is, they were required to demonstrate that they had a greater need to carry a firearm
      than that of the average citizen, for example, due to extensive history of threats to the
      applicant’s person, due to a dangerous job, etc.; former police officers were exempted
      from this requirement.
24.   On June 23rd, 2022, the U.S. Supreme Court declared New York’s proper cause
      requirement to be unconstitutional. New York State Rifle & Pistol Association, Inc. v.
      Bruen, 597 U.S. ___ (2022).
25.   The Bruen court explicitly held that the Constitution affords an individual right to bear
      arms outside of the home and that a law that prohibits the ordinary, law-abiding citizen
      from doing so violates that right.
26.   Within hours after the Bruen decision was announced, the Governor publicly deemed the
      Bruen holding as “outrageous,” “reckless,” “reprehensible,” “horrific,” and “appalling”
      on her official Twitter account and made similar statements to the media.



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27.   Within days after the Bruen decision was announced, the Governor convened an
      extraordinary session of the state legislature.
28.   The purpose of this session was to pass a new law to prevent as many New Yorkers as
      possible from obtaining a license to carry handguns.
29.   The legislature passed Senate Bill S51001, which modifies New York Penal Law § 400.
30.   The changes affect the requirements for licensure and the privileges of licensees.
31.   The provisions of both sections are clearly designed to make licensure as difficult as
      possible while making the privileges of the license as useless as possible.
32.   However, this lawsuit addresses only changes made by S51001 that affect the
      requirements for licensure and does not seek review of any changes made by S51001 that
      affect the privileges of licensees – including the constitutionally-dubious designation of
      entire neighborhoods and modes of transportation as “sensitive locations” where gun
      licenses are not valid – as Corbett is not yet a licensee.
33.   Corbett challenges three particular provisions of S51001 that affect the requirements for
      licensure.
34.   All three of the challenged provisions are phrased in mandatory language; that is, a
      licensing officer is not given discretion to waive them.
35.   First, S51001 amends § 400.00(1) to add a subsection (o) that requires applicants to
      provide “a list of former and current social media accounts of the applicant from the past
      three years to confirm the information regarding the applicants character and conduct”
      (hereafter, the “Social Media Requirement”).
36.   Effectively, this ends the right to speak anonymously on the Internet for anyone who
      would also like to use their Second Amendment rights.
37.   An applicant who has had an abortion and has used the anonymity of social media to seek
      comfort is now outed, as is the gay person struggling to come out to their family. An
      applicant with an “Only Fans” who sells nude pictures of themselves online would now
      be required to let police officers take a look at their body. The person who uses social
      media to document police misconduct, too, must de-anonymize themselves, as is the
      supporter of Black Lives Matter or any other marginalized political group.
38.   Of course, the law does nothing to stop would-be mass shooters from getting a license, as
      they would simply omit any telling social media accounts from their application: of


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      course the license investigation may find this social media account and disqualify the
      application, but the investigator could already do this without the new law, and thus only
      honest, law-abiding applicants stand to be harmed here.
39.   Second, S51001 also adds to subsection (o) a requirement of “names and contact
      information of no less than four character references who can attest to the applicant's
      good moral character” (hereafter, the “References Requirement”).
40.   Our Constitutional rights are not contingent on whether we can find four friends to vouch
      for us, and this is precisely the spirit of “proper cause” – whereby the government
      decided if an applicant had a good enough reason or not – that was struck down in Bruen.
41.   Third, S51001 adds subsection 19 to § 400.00(1), which requires an applicant to
      complete 18 hours of training: 16 hours of “in-person live curriculum” and 2 hours of
      “live-fire range training” (hereafter, the “Training Requirement”).
42.   Upon belief, the requirements other than those added by S51001 already required 12-18
      hours of time to complete; this would bring the total to 30-36 hours, plus the commute
      required to attend this “in-person”-only course would make that 31-38 hours.
43.   The filing and fingerprint fees were already $428.25. Upon information and belief, based
      on training courses required in other states, this will add $400-600 in course fees, plus the
      cost of the four in-person trips to licensing division and one in-person trip to the course.
44.   Assuming $500 for the course fee and $20 each way for each commute, and not
      considering the cost of taking time off of work, the cost of obtaining a gun license in New
      York (valid for 3 years) is now $1,128.50.
45.   Minimum wage in this state is now $15 and a minimum wage earner in the Bronx
      working 40 hours per week, filing as single with no dependents but themselves, will take
      home about 76% of their check after taxes.
46.   Using those numbers, this minimum wage worker must work for 99 hours just to pay for
      a license.
47.   In other words, for this worker to take the time to apply for, finish the training for, and
      work at their job to pay the application fee for, a gun license in New York, it will take
      them up to 135 hours of their life, if they are even allowed by their employer to take the
      time off from work necessary to complete the process.



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48.    Upon information and belief, no other state in the country requires 18 hours of training to
       get a gun license.
49.    Upon information and belief, it does not take 18 hours to teach the information that a
       state may rationally wish to impart upon a licensee.
50.    Upon information and belief, this requirement was intended to, and does, make the
       obtaining of a license impracticable or impossible for the average citizen.



                                   CLAIMS FOR RELIEF

      Counts 1 – 3: Violation of First*, Second*, and Fourteenth Amendments to U.S.
                                          Constitution
             *As Incorporated Against the States by the Fourteenth Amendment
                                  (Social Media Requirement)

51.    Corbett has the right to speak and associate with others anonymously.
52.    Corbett also has the right to keep and bear arms.
53.    The Social Media Requirement precludes Corbett from exercising both rights
       simultaneously, constitutes an invasion of his privacy, and generates a substantial risk of
       discriminatory enforcement.
54.    The Social Media Requirement is thus unconstitutional under the First (Count 1) and
       Second (Count 2) Amendments to the U.S. Constitution, as incorporated against the
       states by the Fourteenth Amendment, and the due process clause of the Fourteenth
       Amendment (Count 3), to the extent the Constitution still provides a right to privacy post-
       Dobbs3.




3 Dobbs v. Jackson Women’s Health, 597 U. S. ____ (2022), certainly restricted the scope of
rights that are not explicitly mentioned in the Constitution, but the court appears to have left
open the door to a right to privacy insofar as it means a “right to shield information from
disclosure.” Id. at *48, *49.
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             Count 4: Violation of Second* Amendment to U.S. Constitution
            *As Incorporated Against the States by the Fourteenth Amendment
                                   (References Requirement)

55.   Corbett has the right to keep and bear arms.
56.   His exercise of this right is not contingent on the approval of four other people.
57.   The References Requirement is thus unconstitutional under the Second Amendment to
      the U.S. Constitution, as incorporated against the states by the Fourteenth Amendment.


             Count 5: Violation of Second* Amendment to U.S. Constitution
            *As Incorporated Against the States by the Fourteenth Amendment
                                   (Training Requirement)

58.   Corbett has the right to keep and bear arms.
59.   A law that unnecessarily, intentionally, and unreasonably restricts his ability to do so, as
      the Training Requirement, in light of the other requirements for a New York gun license,
      does, is unconstitutional.
60.   The Training Requirement is thus unconstitutional under the Second Amendment to the
      U.S. Constitution, as incorporated against the states by the Fourteenth Amendment.




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                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

  i.      Declaratory relief stating that each of the provisions complained of – the Social Media
          Requirement, the References Requirement, and the Training Requirement – are facially
          unconstitutional.
 ii.      Injunctive relief, a writ of mandamus, a writ of prohibition, or other extraordinary writ to
          give effect to the declaratory relief.
iii.      Cost of the action.
iv.       Reasonable attorney’s fees, to the extent that the law allows an attorney representing
          himself to collect attorney’s fees, and/or in the event Corbett retains an attorney at a later
          point in this matter.
 v.       Any other such relief as the Court deems appropriate.




Dated: New York, New York                                Respectfully submitted,

          July 11th, 2022
                                                         ____________________________________
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